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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

   UNITED STATES OF AMERICA,
   BARBARA BERNIER and ESE LOVE,

          Plaintiffs,

   v.                                                      Case No: 6:16-cv-970-Orl-37TBS

   INFILAW CORPORATION, CHARLOTTE
   SCHOOL OF LAW, LLC, AMERICAN
   BAR ASSOCIATION and AMERICAN
   BAR ASSOCIATION,

          Defendants.


                                             ORDER

          This False Claim Act (“FCA”) case comes before the Court on the Motion of

   Defendants Infilaw and CSL for Extension of Time to Respond to Second Amended

   Complaint (the “SAC”) (Doc. 78). Movants seek an extension from May 21 to July 16,

   2018 to respond to the SAC (Id., ¶ 6). Plaintiffs have filed a response in opposition to

   Defendants’ request (Doc. 81) and have only consented to an extension through May 30,

   2018 (Doc. 78 at ¶ 5). Defendants’ request is not appropriate for a number of reasons:

          First, Infilaw and CSL seek this extension because the SAC adds Relator Barbara

   Bernier, in her personal capacity, and Ese Love as new Plaintiffs (Id., ¶ 3). Bernier is well

   known to movants and Love does not make any claims against them. Consequently, this

   proposed ground is not good cause for the requested extension. See FED. R. CIV. P.

   6(b)(1)(A).

          Second, Infilaw and CSL request this extension because the SAC adds additional

   factual allegations to Counts I and II, and three new causes of action (Doc. 78 at ¶ 4).
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   Movants do not identify the new averments of fact in Counts I and II or why additional

   time is needed to respond to them. Of the three new counts, two are against movants.

   Plaintiffs represent that there are no new facts alleged in their claim of gross negligence,

   and that their fraudulent inducement claim “arises from the same nucleus of facts that

   have been at issue since Bernier served Defendants with the initial complaint.” (Doc. 81

   at ¶ 15). Plaintiffs also state that the fraudulent inducement count adds only nine new

   paragraphs (Id.). The Court is not persuaded that these grounds constitute good cause

   for the requested extension.

          Third, Infilaw and CSL seek this extension because the SAC adds the American

   Bar Association d/b/a Council of the Section of Legal Education and Admissions to the

   Bar and d/b/a Accreditation Committee of the Section of Legal Education and Admissions

   to the Bar as a new Defendant (Id.). Movants understand the ABA will seek a 45 day

   enlargement of time to respond to the SAC (Id., ¶ 6). Infilaw and CSL have not shown

   why the addition of the ABA, or its belief that the ABA will seek an enlargement of time is

   good cause for the requested extension.

          Fourth, Infilaw and CSL request an extension on the ground that the SAC was filed

   after the Scheduling Order deadline had passed (Id., ¶ 8). By Order filed April 23, 2018,

   the Court gave Plaintiffs through May 7, 2018 to file the SAC (Doc. 71 at 20). The SAC

   was timely filed and the Court fails to understand what this has to do with the preparation

   of movants’ response. Consequently, good cause is not shown.

          Fifth, Infilaw and CSL seek an extension because two prior-filed, related FCA

   cases have been unsealed, necessitating briefing on the FCA first-to-file bar (Id.).

   Plaintiffs’ represent that the qui tam complaint in one of the cases has already been

   voluntarily dismissed and that movants have been on notice of the other case since at



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   least April 9, 2018 (Doc. 81, ¶ 17). According to Plaintiffs, the complaint in the second

   case was unsealed on April 24, 2018, and its allegations do not overlap the claims in this

   case (Id., ¶ 18). Movants have not shown why additional time is needed to brief these

   issues and therefore, good cause has not been demonstrated.

          Lastly, Infilaw and CSL request an extension because counsel must fulfill their

   commitments in other cases and an attorney has a pre-planned vacation (Doc. 78 at ¶ 8).

   Movants have failed to supply detail to support these arguments. They have also failed to

   explain why none of their three attorneys of record is available to prepare their response.

          For these reasons, the motion for extension of time is GRANTED to May 30, 2018

   and otherwise DENIED.

          DONE and ORDERED in Orlando, Florida on May 22, 2018.




   Copies furnished to:

          Counsel of Record
          Unrepresented Parties




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